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 1                                      ATTACHMENT A
 2                Property to Be Searched and Subscriber/Subject Information
 3         1.       Records and information associated with the cellular phone assigned call
 4 number 831-225-4486, with listed subscriber “ROMEO GONZALEZ PEREZ” (the
 5 “Target Cell Phone”), that are in the custody or control of AT&T Wireless, a company
 6 headquartered at 11760 U.S. Highway 1, North Palm Beach, FL 33408. The
 7 subscriber/customer of the Target Cell Phone is “ROMEO GONZALEZ PEREZ”. The
 8 identity of the person who is the subject of the criminal investigation is unknown.
 9         1.       The Target Cell Phone.
10         2.       The property to be searched includes: (i) any instrument to which the listed
11 target telephone number was assigned within the last 30 days, and that now has been
12 assigned a changed telephone number, (ii) any changed telephone number assigned to an
13 instrument now bearing the same unique identifying number (such as an IMSI, ESN,
14 MSID, or IMEI) as the telephone number listed above, or that was bearing the same
15 unique identifying number as the telephone number listed above, at any point within the
16 last 30 days, (iii) any changed unique identifying number subsequently assigned to the
17 same telephone number, or (iv) any additional changed telephone number and/or unique
18 identifying number, whether the changes occur consecutively or simultaneously, listed to
19 the same subscriber and wireless telephone account number as the telephone numbers
20 listed above, within the period of disclosure authorized by this warrant.
21
22
23
24
25
26
27
     Attachment A -- PAGE 1                                          UNITED STATES ATTORNEY
                                                                    700 STEWART STREET, SUITE 5220
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                                                                      SEATTLE, WASHINGTON 98101
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 1                                          ATTACHMENT B
 2                                    Particular Things to be Seized
 3         This warrant is issued pursuant to Rule 41 of the Federal Rules of Criminal
 4 Procedure, the Electronic Communications Privacy Act (ECPA), 18 U.S.C. §§ 2701-
 5 2713, and the Pen Register Act, 18 U.S.C. §§ 3121-3127. As such, this warrant
 6 authorizes the collection of subscriber records, pen-trap data, cell site data , and
 7 prospective E-911/GPS and cell site triangulation information regarding the Target Cell
 8 Phone. This warrant does not authorize the disclosure or seizure of any tangible
 9 property or the content of any wire or electronic communication, as defined in 18
10 U.S.C. § 2510(8). Accordingly, the Court finds reasonable necessity for the seizure of
11 the data and records identified below. See 18 U.S.C. § 3103a(b)(2).
12
13 I.      Section I: Information to be Disclosed by AT&T
14         1.       Subscriber/Account Information. The following non-content information
15 about the customers or subscribers associated with the Account listed in Attachment A:
16                  a.        Names (including subscriber names, user names, and screen names);
17                  b.        Addresses (including mailing addresses, residential addresses,
18 business addresses, and e-mail addresses);
19                  c.        Local and long distance telephone connection records from July 27,
20 2020, to the present;
21                  d.        Records of session times and durations, and the temporarily assigned
22 network addresses (such as Internet Protocol (“IP”) addresses) associated with those
23 sessions from July 27, 2020, to the present;
24                  e.        Length of service (including start date) and types of service utilized;
25                  f.        Telephone or instrument numbers (including MAC addresses,
26 Electronic Serial Numbers (“ESN”), Mobile Electronic Identity Numbers (“MEIN”),
27
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                                                                         700 STEWART STREET, SUITE 5220
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 1 Mobile Equipment Identifiers (“MEID”), Mobile Identification Numbers (“MIN”),
 2 Subscriber Identity Modules (“SIM”), Mobile Subscriber Integrated Services Digital
 3 Network Numbers (“MSISDN”), International Mobile Subscriber Identity Identifiers
 4 (“IMSI”), or International Mobile Equipment Identities (“IMEI”);
 5                  g.        Other subscriber numbers or identities (including the registration
 6 Internet Protocol (“IP”) address); and
 7                  h.        Means and source of payment for such service (including any credit
 8 card or bank account number) and billing records.
 9         2.       Pen Register/ Trap and Trace Data and Associated Subscriber Records
10 to Be Provided for a Period of 45 days.
11
12                  a.        AT&T shall install and monitor pen-trap devices to record, decode,
13 and/or capture dialing, routing, addressing, and signaling information associated with
14 each communication to or from the Target Cell Phone including the date, time, and
15 duration of the communication, and the following, without geographic limit and without
16 notice to the subscriber:
17                        (i)       IP addresses associated with the cell phone device or devices
18                                  used to send or receive electronic communications;
19                        (ii)      Any unique identifiers associated with the cell phone device or
20                                  devices used to make and receive calls with the cell phone
21                                  number described in Attachment A, or to send or receive other
22                                  electronic communications, including the ESN, MEIN, IMSI,
23                                  IMEI, SIM, MSISDN, or MIN;
24                        (iii)     IP addresses of any websites or other servers to which the cell
25                                  phone device or devices connected; and
26
27
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 1                         (iv)      Source and destination telephone numbers and email
 2                                   addresses.
 3                   b.        On a 24-hour-a-day basis, for the duration of the authorized pen-trap
 4 devices, AT&T shall provide the following records for those subscribers whose
 5 identifiers are obtained pursuant to the use of the pen-trap devices: published or non-
 6 published subscriber names and addresses, including billing addresses.
 7          3.       Historical Cell Site Location Information.
 8                   a.        All records and other information (not including the contents of
 9 communications) relating to wire and electronic communications sent or received by the
10 Account from July 27, 2020, to the present, including:
11
                               i.    the date and time of the communication, the method of the
12
     communication, and the source and destination of the communication (such as the source
13
     and destination telephone numbers (call detail records), email addresses, and IP
14
     addresses); and
15
                               ii.   historical cell site information regarding the cell tower and
16
     antenna face (also known as “sectors”) through which the communications were sent and
17
     received. This information is to be provided irrespective of the application, name, or
18
     report utilized by the AT&T. Accordingly, this information includes the following data
19
     sets to the extent that they are collected by the AT&T: RTT, PLU, PCMD, LOCDBOR,
20
     EVDO, True Call, ALULTE, and Timing Advance.
21
                     b.        The physical address and coverage maps of cell towers used by the
22
     Target Cell Phone.
23
            4.       Prospective Cell Site Location Information.
24
                     a.        All information about the location of the Target Cell Phone
25
     described in Attachment A for a period of 45 days, during all times of day and night.
26
     This information includes: precise location information, as well as all data about which
27
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 1 “cell towers” (i.e., antenna towers covering specific geographic areas) and “sectors” (i.e.,
 2 faces of the towers) received a radio signal from the cellular telephone(s) or account(s)
 3 described in Attachment A. This information also includes the following data sets to the
 4 extent that they are collected by the AT&T: RTT, PLU, PCMD, LOCDBOR, EVDO,
 5 True Call, ALULTE, and Timing Advance.
 6                   b.        The physical address and coverage maps of cell towers used by the
 7 Target Cell Phone.
 8
            5.       Prospective E-911/GPS and Cell Site Triangulation Information.
 9
                     a.        All information about the location of the Target Cell Phone
10
     described in Attachment A for a period of 45 days, during all times of day and night.
11
     This information includes: all available E-911 Phase II data, GPS data, latitude-longitude
12
     data, and other precise location information, as well as all data about which “cell towers”
13
     (i.e., antenna towers covering specific geographic areas) and “sectors” (i.e., faces of the
14
     towers) received a radio signal from the cellular telephone(s) or account(s) described in
15
     Attachment A.
16
                     b.        The physical address and coverage maps of cell towers used by the
17
     Target Cell Phone.
18
19          To the extent that the location information described in the previous paragraphs
20 (hereinafter, “Location Information”) is within the possession, custody, or control of
21 AT&T, AT&T is required to disclose the Location Information to the government
22 pursuant to this warrant. In addition, pursuant to 18 U.S.C. §§ 3123(b)(2) and 3124(a)-
23 (b), AT&T must furnish the government all information, facilities, and technical
24 assistance necessary to accomplish the collection of the Location Information
25 unobtrusively and with a minimum of interference with AT&T’s services. The
26 government shall compensate AT&T for reasonable expenses incurred in furnishing such
27
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1 facilities or assistance.
2
3
     II.    Section II: Information to Be Seized by the Government
4
            1.       All information described above in Section I that constitutes evidence of
5
     violations of 21 USC § § 841 & 846 involving unidentified subject “Paco”.
6
            2.       All non-content subscriber/account information provided pursuant to 18
7
     U.S.C. § 2703(c).
8
            3.       All non-content dialing, routing, addressing, and signaling information
9
     provided pursuant to 18 U.S.C. §§ 3121-3127.
10
            4.       Location Information regarding the Target Cell Phone.
11
            Law enforcement personnel (who may include, in addition to law enforcement
12
     officers and agents, attorneys for the government, attorney support staff, agency
13
     personnel assisting the government in this investigation, and outside technical experts
14
     under government control) are authorized to review the records produced by the AT&T
15
     in order to locate the things particularly described in this Warrant.
16
17
18
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      Attachment B -- PAGE 5                                           UNITED STATES ATTORNEY
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 1                 AFFIDAVIT IN SUPPORT OF AN APPLICATION FOR
                     A SEARCH WARRANT AND PEN-TRAP ORDER
 2
 3
     STATE OF WASHINGTON                 )
 4                                       )        ss
     COUNTY OF WHATCOM                   )
 5
 6
     I, Joseph Cheng being first duly sworn, hereby depose and state as follows:
 7
                                        INTRODUCTION
 8
                  Application for a Tracking Warrant for a Target Telephone
 9
                    I make this affidavit in support of an application for search warrants under
10
     Federal Rule of Criminal Procedure 41 and 18 U.S.C. §§ 2703(c)(1)(A) for information
11
     about the location of the following cellular telephone (hereinafter, the “Target
12
     Telephone”):
13
                 a.     Target Telephone 2A (TT2A), assigned phone number 831-225-
14 4486, who’s service provider is AT&T Wireless (“AT&T), a wireless telephone service
   provider located at 11760 U.S. Highway 1, North Palm Beach, FL 33408. TT2A is
15
   subscribed to “ROMEO GONZALEZ PEREZ” at “333 W LAUREL DR , Salinas, CA
16 93906” with an activation date of July 27, 2022. TT2A is described herein and in
   Attachment A, and the location information to be seized is described herein and in
17
   Attachment B. Investigators believe TT2A is being used by “Paco,” a suspected drug
18 trafficker.
19                                               ECPA
20                  The Court has jurisdiction to issue the proposed warrants under the
21 Electronic Communications Privacy Act (ECPA), 18 U.S.C. §§ 2701-2713, because it
22 is a “court of competent jurisdiction” as defined in 18 U.S.C. § 2711. Specifically, the
23 Court is the Western District of Washington, a district court of the United States that
24 has jurisdiction over the offense being investigated, see 18 U.S.C. § 2711(3)(A)(i).
25                                           Pen Register Act
26                  Because this warrants seek the prospective collection of information that
27 falls within the statutory definitions of information collected by a “pen register” and/or
28

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 1 “trap and trace device,” see 18 U.S.C. § 3127(3) & (4), the requested warrants are
 2 designed to comply with the Pen Register Act, 18 U.S.C. §§ 3121-3127.
 3                 The Court has jurisdiction to issue the requested pen-trap orders because
 4 it is a “court of competent jurisdiction” under 18 U.S.C. § 3122(a)(2). Specifically, the
 5 Court is a district court of the United States that “has jurisdiction over the offense being
 6 investigated.” 18 U.S.C. § 3127(2)(A)(i).
 7                 This application includes all the information required by the Pen Register
 8 Act. See 18 U.S.C. §§ 3122(b) & 3123(a)(1). Namely, Exhibit 1 to this application is a
 9 certification from Assistant United States Attorney Stephen Hobbs that (1) identifies the
10 Drug Enforcement Administration as the law enforcement agency conducting the
11 investigation and (2) certifies the information likely to be obtained is relevant to an
12 ongoing criminal investigation being conducted by that agency. 18 U.S.C. § 3122(b).
13 The Assistant United States Attorney is an “attorney for the government” as defined in
14 Rule 1(b)(1) of the Federal Rules of Criminal Procedure.
15                 A “pen register” is “a device or process which records or decodes dialing,
16 routing, addressing, or signaling information transmitted by an instrument or facility
17 from which a wire or electronic communication is transmitted.” 18 U.S.C. § 3127(3).
18 A “trap and trace device” is “a device or process which captures the incoming
19 electronic or other impulses which identify the originating number or other dialing,
20 routing, addressing, and signaling information reasonably likely to identify the source
21 of a wire or electronic communication.” 18 U.S.C. § 3127(4).
22                 In the traditional telephone context, pen registers captured the destination
23 phone numbers of outgoing calls, while trap and trace devices captured the phone
24 numbers of incoming calls. Similar principles apply to other kinds of wire and
25 electronic communications such as emails, text messages, connection logs, and data
26 transfers. The prospective location data sought in this application constitutes “dialing,
27 routing, addressing, and signaling information” covered by the Pen Register Act.
28 Accordingly, the requested warrants will record, decode, and/or capture dialing,

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 1 routing, addressing, and signaling information associated with the Target Telephone
 2 without geographic limit.
 3                 The United States further requests, pursuant to 18 U.S.C. §§ 3123(b)(2)
 4 and 3124(a)-(b), that the Court order through Attachments B of the requested warrant
 5 that AT&T, and any other person or entity providing wire or electronic communication
 6 service in the United States whose assistance may facilitate execution of this warrant
 7 furnish, upon service of the warrant, information, facilities, and technical assistance
 8 necessary to install the pen/trap, including installation and operation of the pen-trap
 9 unobtrusively and with minimum disruption of normal service. Any entity providing
10 such assistance shall be reasonably compensated by the Drug Enforcement
11 Administration, pursuant to 18 U.S.C. § 3124(c), for reasonable expenses incurred in
12 providing facilities and assistance in furtherance of the warrant.
13                 This is the first application in this judicial district for a search warrant
14 authorizing disclosure of the above information for Target Telephone 2A in
15 connection with this investigation.
16                 Through this application, the United States does not request and does
17 not seek to obtain the contents of any communications, as defined in 18 U.S.C.
18 § 2510(8).
19                    INTRODUCTION AND AGENT BACKGROUND
20                 I am a Special Agent (SA) with the Drug Enforcement Administration
21 (DEA), United States Department of Justice. I have been so employed since August
22 2006. In connection with my official DEA duties, I investigate criminal violations of
23 the federal narcotics laws, including but not limited to, Title 21, United States Code,
24 Sections 841, 843, 846, and 848. I am currently assigned to the Bellingham Resident
25 Office of the DEA’s Seattle Field Division. My current assignment involves
26 investigations of high-level drug trafficking organizations within the Western
27 Washington area and elsewhere.
28

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 1                 I have completed the DEA Basic Agent Training Course as well as other
 2 training courses related to gangs and narcotics trafficking. I have participated in
 3 narcotics investigations at both the local and federal level, and I have participated in
 4 numerous federal search warrants. As a result, I have become familiar with methods of
 5 operation of drug traffickers and organizations. As a Special Agent with the DEA, I
 6 have the responsibility of working with other federal and state law enforcement officers
 7 in investigations of violations of federal and state controlled substance laws, including
 8 the investigation of the distribution of controlled substances including fentanyl and its
 9 analogues, cocaine, methylenedioxymethamphetamine (MDMA), methamphetamine,
10 heroin, marijuana, and other dangerous drugs.
11                 I have interviewed numerous drug dealers, drug users, and knowledgeable
12 confidential informants about the lifestyles, appearances, and habits of drug dealers and
13 users. I have become familiar with the manner in which narcotics traffickers smuggle,
14 package, transport, store, and distribute narcotics, as well as how they collect and
15 launder drug proceeds. I am also familiar with the manner in which narcotics
16 traffickers use telephones, cellular telephone technology, internet, pagers, coded
17 communications and slang-filled conversations, false and fictitious identities, and other
18 means to facilitate their illegal activities and mislead law enforcement investigations. I
19 have had discussions with other law enforcement personnel about the packaging and
20 preparation of narcotics, the methods of illegal narcotics traffickers, and the security
21 measures that narcotics traffickers often employ. I have examined narcotics customers'
22 supplier lists, pay/owe ledgers maintained by traffickers, and other documentation
23 related to narcotics trafficking. I have also examined documentation of various
24 methods by which methamphetamine, cocaine, marijuana, heroin, and other illicit drugs
25 are smuggled, transported, and distributed. I have participated in hundreds of hours of
26 surveillance of narcotics traffickers. During surveillance, I have personally observed
27 narcotics transactions, counter surveillance techniques, and the ways in which narcotics
28 traffickers conduct clandestine meetings.

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 1                 I have also participated in investigations that involved the interception of
 2 wire communications, including four investigations of large-scale drug trafficking
 3 organizations in which I was the case agent and each of which resulted in the conviction
 4 of approximately 20 individuals on federal drug-related charges. In addition to these
 5 cases, I have participated in numerous other wiretap investigations in a variety of roles,
 6 including by conducting physical surveillance and monitoring intercepted
 7 communications. I have been directly involved in the review and deciphering of
 8 intercepted coded conversations between narcotics traffickers that were later
 9 corroborated by surveillance or by targets’ statements. Throughout my law
10 enforcement career, I have spoken with, worked with, and gained knowledge from
11 numerous experienced federal, state, and local narcotics officers.
12                 Since this Affidavit is being submitted for the limited purpose of seeking
13 authorization for the above requested search warrants, I have not included every fact
14 known to me concerning this investigation. I have set forth only the facts that I believe
15 are essential to establish the necessary foundation for a fair determination of probable
16 cause to support the Application. When the statements of others are set forth in this
17 affidavit, they are set forth in substance and in part.
18                 In the following paragraphs, I describe communications between various
19 individuals. Except where specifically indicated with quotation marks, the descriptions
20 are summaries of the conversations and are not meant to reflect the specific words or
21 language used.
22                               SUMMARY OF PROBABLE CAUSE
23 Summary and Target Identifiers
24                 During the months of June and July 2022, investigators with the
25 Whatcom Gang and Drug Task Force (WGDTF), Whatcom County Sheriff’s Office
26 (WCSO), Skagit County Interlocal Drug Enforcement Unit (SCIDEU), Washington
27 State Patrol (WSP), and the Drug Enforcement Administration (DEA) Bellingham
28 Resident Office and others investigated several individuals suspected of distributing

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1 fentanyl-laced powder, and other controlled substances, in the areas of Whatcom
2 County, Washington.
3                   In the following Application, the following target identifiers are
4 referenced:
5         Target Number                    Target Identifier               Description/User
6      Target Vehicle 1 (TV1)              CCH4108 - (WA)               A blue 2007 Nissan
                                                                        Altima, a suspected
7                                                                       narcotics delivery
8                                                                       vehicle, used by “Paco”

9      Target Vehicle 2 (TV2)               6SIJ822 – (CA)              A black 2013 Range
                                                                        Rover, believed to be
10                                                                      used by “Yolanda
                                                                        ORTIGOZA REYES”,
11                                                                      a narcotics coordinator.
12       Target Telephone 1                 (360) 296-6558              Phone number used by
13             (TT1)                                                    Yolanda ORTIGOZA
                                                                        REYES, a/k/a
14                                                                      “Vanessa”, a suspected
                                                                        narcotics
15                                                                      broker/dispatcher.
16       Target Telephone 2                 (360) 296-8260              Phone number used by
               (TT2)                                                    “Paco”, a suspected
17
                                                                        narcotics dealer/delivery
18                                                                      driver.
19     Target Device 1 (TD1)              Motorola Cell Phone           A green Motorola cell
                                                                        phone belonging to
20                                                                      Wayne LANKHAAR.
21     Target Device 2 (TD2)              Samsung Cell Phone            A black Samsung cell
                                                                        phone belonging to
22                                                                      Roderick PULLAR.
23    Target Location 1 (TL1)     5451 North Gates Avenue Apartment     Residence of Yolanda
24                                      217, Fresno, California         ORTIGOZA REYES
      Target Location 2 (TL2)      431 North Laventure Road, Mount      Residence of “Paco”
25                                       Vernon, Washington
26
                    During the month of June 2022, investigators conducted three undercover
27
     controlled purchases of powdered fentanyl, each controlled purchase was for two
28
     ounces, from an individual only identified as “Paco.” During these controlled
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 1 purchases, the undercover officer contacted a female identified as Yolanda ORTIGOZA
 2 REYES to arrange the controlled purchase and met with “Paco” to obtain the drugs.
 3 Investigators have obtained Washington State search warrants for location information
 4 for “Paco’s” phone, TT2, Paco’s vehicle, TV1, ORTIGOZA REYES’s phone, TT1, and
 5 ORTIGOZA REYES’s vehicle, TV2. Based on the location data investigators have
 6 identified that ORTIGOZA REYES’s lives in Fresno, California, at TL1, and that
 7 “Paco” lives in Mount Vernon Washington at TL2. Investigators have also identified
 8 that ORTIGOZA REYES also rents an apartment in Everett, Washington (TL12) that
 9 investigators believe is unoccupied when ORTIGOZA REYES is in California.
10                 With the assistance of the court authorized location data for “Paco’s”
11 vehicle (TV1) and phone (TT2), investigators have conducted extensive physical
12 surveillance of “Paco” and have observed a typical pattern of behavior for “Paco.”
13 Investigators have observed that typically “Paco” leaves Mount Vernon, Washington, in
14 the early afternoon and drives to Whatcom County. In Whatcom County “Paco” meets
15 often meets with suspected drug traffickers before parking in various open parking lots
16 or public parks before meeting additional suspected drug traffickers. Investigators also
17 observed that “Paco” would return to Mount Vernon, Washington, in the early evening
18 hours.
19                 Investigators have observed “Paco” walk into multiple businesses, walk
20 around the store, frequently browsing the women’s clothing section, and walk out
21 without purchasing anything. Investigators suspect that “Paco” is conducting
22 countersurveillance while in these businesses, attempting to identify law enforcement
23 surveillance personnel. Investigators have observed “Paco” parked in public parks,
24 often for multiple hours at a time, frequently remaining in his vehicle the whole time.
25 Additionally, many of the individuals that investigators have observed “Paco” meeting
26 have prior drug convictions and many of the residences visited by “Paco” are associated
27 to individuals with prior drug convictions or arrests.
28 //

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 1 June 2022: First Controlled Purchase of Fentanyl-Laced Powder from “Paco” 1
 2                       During the first half of June 2022, a commissioned Washington State law
 3 enforcement officer acting in an undercover capacity (hereinafter referred to as the UC),
 4 conducted a controlled purchase of suspected fentanyl-laced powder. The UC met with
 5 a Hispanic male identified only as “Paco” at a location in Whatcom County,
 6 Washington. The UC obtained a quantity of suspected fentanyl-laced powder from
 7 “Paco” in exchange for pre-recorded WGDTF buy funds. During this transaction a
 8 confidential source (CS) working for the government was present. The interaction was
 9 recorded using covert video and audio recording devices. 2
10                       Following the controlled purchase, investigators watched as “Paco” got
11 into a blue 2007 Nissan Altima bearing WA/CCH4108 (hereinafter Target Vehicle 1 or
12 TV1). A records check of TV1 through the Washington State Department of Licensing
13 showed the vehicle was registered to “NATALIA ROJAS RIVERA” at 429 North
14 Laventure Road, Mount Vernon, Washington. Investigators watched as “Paco” made
15 short stops at various locations in Whatcom County and Skagit County, Washington.
16 Investigators saw “Paco” park TV1 in the area of 429 North Laventure Road in Mount
17 Vernon, Washington, and walk into a residence at 431 North Laventure Road in Mount
18 Vernon, Washington (Target Location 2).
19                       Following the controlled purchase, the UC exchanged text messages with
20 the user of (360) 296-6558 (hereinafter Target Telephone 1 or TT1). The UC referenced
21 the prior meeting, as well as a future meeting, with the user of TT1. The user of TT1
22 identified herself as “Vanessa.” As discussed below, investigators later identified the
23 user of TT1 as Yolanda ORTIGOZA REYES.
24                       The suspected fentanyl-laced powder, which was purple in color, was
25 tested by investigators using a ThermoFisher Scientific brand “TruNarc” Raman
26
27   1
      In this affidavit, the exact date and location of certain events are not specified in order to protect the identity of
     confidential sources and undercover officers.
28   2
         A Washington State administrative wire order was granted prior to capturing the covert recordings.
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1 Handheld scanner. 3 The investigator who conducted the test using the device was
2 certified in its use. The scan indicated the powder contained fentanyl. As depicted
3 below, the suspected fentanyl powder was wrapped in cellophane. As discussed below,
4 this packaging is consistent with other drugs seized during this investigation.
5
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15
     June 2022: Second Controlled Purchase of Fentanyl-Laced Powder from “Paco”
16
                       During the first half of June 2022, a UC conducted another controlled
17
     purchase of fentanyl-laced powder. Prior to the controlled purchase, the UC
18
     communicated with ORTIGOZA REYES, who was using TT1. The UC arranged to
19
     purchase an amount of fentanyl-laced powder for an agreed upon amount of money. In
20
     a phone call, the UC spoke with ORTIGOZA REYES, who sounded to be a female with
21
     a Hispanic accent. ORTIGOZA REYES communicated with the UC regarding how the
22
     meeting would take place, the location the meeting would occur, and the price.
23
                       Investigators then watched as “Paco”, driving TV1, arrived at the pre-
24
     determined location in Whatcom County agreed upon by ORTIGOZA REYES and the
25
     UC. The UC met with “Paco.” The UC obtained a quantity of suspected fentanyl-laced
26
27
28   3
      According to the ThermoFischer Scientific website, the “TruNarc” Handheld Raman scanner utilizes a Raman
     spectroscopy scan to identify chemicals. https://www.thermofisher.com/order/catalog/product/TRUNARC
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 1 powder from “Paco” in exchange for pre-recorded DEA buy funds. The interaction was
 2 recorded using covert video and audio recording devices. The fentanyl powder
 3 provided to the UC by “Paco” was purple in color and the packaging was consistent
 4 with that of the first controlled purchase.
 5                     “Paco” and the UC discussed ORTIGOZA REYES, as well as other
 6 controlled substances available for purchase through “Paco” or ORTIGOZA REYES.
 7 “Paco” said ORTIGOZA REYES was currently in California. “Paco” drove from the
 8 area in TV1.
 9                     Investigators submitted the suspected fentanyl-laced powder to the DEA
10 Western Regional Laboratory for analysis. A laboratory analysis of the substance
11 indicated that it had a net weight of 47.7 grams and tested positive for the presence of
12 Fentanyl. 4
13 June 2022: Location Information from TT1, TT2, and TV1
14                     On June 13, 2022, the Honorable Whatcom County Superior Court Judge
15 Evan Jones approved a search warrant authorizing the placement and monitoring of an
16 electronic tracking device on TV1 believed to be driven by “Paco”. On June 17, 2022,
17 investigators placed a tracking device onto TV1 and began monitoring the location data.
18                     On June 13, 2022, the Honorable Whatcom County Superior Court Judge
19 Evan Jones approved search warrants and court orders that included the disclosure of
20 real-time Prospective Location Information (PLI) for TT1 (ORTIGOZA REYES) and
21 TT2 (“Paco”) by Verizon, as well as authority to install a Pen Register and Trap &
22 Trace on TT1 and TT2, which could show the identifiers for incoming and outgoing
23 calls made and received by those target numbers. Investigators subsequently served the
24 court orders and search warrants on Verizon, and began receiving location and
25 telephonic contact information related to TT1 and TT2 in the following days.
26
27   4
      Most of the drug seizures described in this affidavit are being maintained as evidence by the Whatcom County
28   Sheriff’s office. As of July 16, 2022, this exhibit is the only one for which a laboratory analysis has been
     completed.
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 1                 Investigators noted that location information for TT1 (ORTIGOZA
 2 REYES) showed it was in the area of Fresno, California.
 3                 Investigators monitored the location information for TT2 (“Paco”), as
 4 well as the information received from the vehicle tracker affixed to TV1. Investigators
 5 noted that between June 17, 2022, and June 27, 2022, TV1 went from the area of 431
 6 North Laventure Road, Mount Vernon, Washington (Target Location 2), to various
 7 locations in Whatcom County, Washington. Location information for TT2 appeared to
 8 follow the movements of TV1, indicating to investigators that the male known as
 9 “Paco” was using both TV1 and TT2 on a daily basis during that timeframe.
10                 Using both physical surveillance and location information from TV1,
11 investigators saw TV1 going to multiple addresses in Whatcom County, Washington,
12 that were known to investigators due to their involvement in criminal activity. Many of
13 these locations will be discussed below.
14 June 2022: Remote Surveillance Camera Installation
15                 On June 24, 2022, investigators installed a remotely recorded video
16 surveillance system with a view of the roadway and parking areas in front of 431 North
17 Laventure Road in Mount Vernon, Washington (Target Location 2).
18 Identification of Target Vehicle 2
19                 On June 26, 2022, location information for TT1 (ORTIGOZA REYES)
20 indicated that it had started travelling north from Fresno, California, to Washington.
21 TT1 continued northbound until arriving in the area of Everett, Washington, at
22 approximately 12:31 AM on June 27, 2022. TT1 remained in that area until
23 approximately 11:48 AM on June 27, 2022, when the device again began moving
24 northbound. At approximately 12:15 PM on June 27, 2022, location information for
25 TT1 showed it was in the general area of Laventure Road, Mount Vernon, Washington.
26                 Via a remote surveillance camera, investigators observed that at
27 approximately 12:13 PM, a black Range Rover SUV (hereinafter Target Vehicle 2 or
28 TV2) arrive and park in front of 431 Laventure Road, Mount Vernon, Washington

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 1 (Target Location 2). Shortly after arriving, a female, later identified as Yolonda
 2 ORTIGOZA REYES, with black hair could be observed walking from TV2 and
 3 walking towards 431 North Laventure Road, Mount Vernon, Washington (Target
 4 Location 2). At approximately 1:46 PM, ORTIGOZA REYES could be seen walking
 5 back towards TV2 while speaking with a male. ORTIGOZA REYES appeared to leave
 6 the area in TV2. Location information for TT1 showed the device moved south back to
 7 the area of Everett, Washington, at around that time. Investigators believe, based on the
 8 location information and remotely recorded footage, that ORTIGOZA REYES, driving
 9 TV2 had arrived at 431 North Laventure Road, Mount Vernon, Washington (Target
10 Location 2) and met with “Paco”.
11                 On June 28, 2022, location information for TT1 (ORTIGOZA REYES)
12 moved from the area of Everett, Washington, back to the area of Laventure Road in
13 Mount Vernon, Washington. Investigators drove by 431 North Laventure Road, Mount
14 Vernon, Washington (Target Location 2) and observed TV2 parked along the street
15 near 431 North Laventure Road, Mount Vernon, Washington (Target Location 2).
16 Investigators observed TV2 was bearing California license plate 6SIJ822, which was
17 registered to Yolanda ORTIGOZA REYES at 5451 N Gates Ave, Apartment 217,
18 Fresno, California (Target Location 1). The license plate was listed as belonging to a
19 2013 Land Rover.
20                  According to Drug Enforcement Administration (DEA) records, in 2015
21 TV2 was present at a federal search warrant at an address in Fresno, California. During
22 that search warrant, Rigoberto CASTRO GARCIA was arrested and interviewed by
23 federal investigators. Approximately $9,000 in US currency was located during the
24 execution of the federal search warrant. While being interviewed, Rigoberto CASTRO
25 GARCIA admitted to coordinating the delivery of heroin to customers in Tacoma,
26 Washington.
27                 That same day, investigators located TV1 and observed “Paco” as the
28 driver of TV1 and ORTIGOZA REYES as a passenger. Investigators positively

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 1 identified the female as ORTIGOZA REYES via her California driver’s license
 2 photograph. While ORTIGOZA REYES was being watched by investigators, the UC
 3 called TT1 and spoke with ORTIGOZA REYES. Investigators watched as ORTIGOZA
 4 REYES, who was sitting in TV1, picked up her phone as the UC was calling. The UC
 5 had a conversation with ORTIGOZA REYES to coordinate a future purchase of
 6 fentanyl-laced powder. Based on these observations, investigators believe that
 7 ORTIGOZA REYES is the user of TT1.
 8 June 2022: Third Controlled Purchase of Fentanyl-Laced Powder from “Paco”
 9                 In late June 2022, a UC conducted another controlled purchase of
10 suspected fentanyl-laced powder. Prior to the controlled purchase, the UC
11 communicated with ORTIGOZA REYES on TT1. The UC arranged to purchase an
12 amount of fentanyl-laced powder for an agreed upon amount of money. In a phone call,
13 the UC spoke with ORTIGOZA REYES. As discussed above, investigators observed
14 ORTIGOZA REYES answer this call.
15                 Investigators watched as “Paco”, driving TV1, arrived at the pre-
16 determined location in Whatcom County agreed upon by ORTIGOZA REYES and the
17 UC. Investigators observed “Paco” and the UC walk into the store restroom shortly
18 after one another. The UC obtained a quantity of suspected fentanyl-laced powder from
19 “Paco” in exchange for pre-recorded DEA buy funds in the restroom. The interaction
20 was recorded using covert video and audio recording devices. The fentanyl powder
21 provided to the UC by “Paco” was purple in color and the packaging was consistent
22 with that of the first two controlled purchases.
23 //
24 //
25 //
26 //
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13
     July 25, 2022: Arrest of Yolonda ORTIGOZA REYES
14
                    During the months of June and July 2022, investigators conducted
15
     extensive physical surveillance of “Paco” as he travelled throughout Whatcom County
16
     and conducted numerous suspected drug transactions. Investigators conducted
17
     numerous stops of individuals who were observed meeting with “Paco” and seized
18
     drugs during many of these stops. Investigators obtained multiple statements from
19
     individuals and observed stored text messages on the phones of some of these
20
     individuals which corroborated the observations of investigators.
21
                    In July 2022, United States Magistrate Judge Paula L. McCandlis signed
22
     search warrants authorizing the search of multiple residences and vehicles in Western
23
     Washington, included in those locations was “Paco’s,” Nissan Altima (TV1).
24
                    In the days preceding July 25, 2022, the same undercover officer was
25
     telephonically in communication with ORTIGOZA REYES and arranged the delivery
26
     of six ounces of fentanyl powder and 2,000 fentanyl pills. During these conversations,
27
     ORTIGOZA REYES told the UC that “Paco” was visiting family.
28

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 1                 On July 25, 2022, ORTIGOZA REYES was placed under arrest by
 2 uniformed officers. “Paco” was not arrested at this time and has not been seen by
 3 investigators since approximately July 22, 2022.
 4                 Pursuant to a search warrant, investigators searched TV1 and recovered
 5 approximately 440 gross grams of suspected fentanyl powder, 450 gross grams of
 6 suspected fentanyl pills, and 110 grams of suspected heroin and three cell phones, an
 7 iPhone 13, iPhone 12 and Samsung cell phone.
 8                 ORTIGOZA REYES was transported to the DEA Bellingham Office
 9 where she was interviewed. ORTIGOZA REYES was read her Miranda Rights and
10 agree to speak to investigators. ORTIGOZA REYES admitted that the drugs in her
11 backpack were to be delivered to someone. ORTIGOZA REYES identified a phone
12 number in her Samsung cell phone for “Paco” saved under the name “Paco 2” with
13 phone number 360-296-8260 (TT2). This is the same phone number provided to the
14 UC by “Paco” during a transaction in June 2022. ORTIGOZA REYES stated that she
15 had another number for “Paco” saved on her iPhone, under the contact name “Martin”
16 with the phone number 360-873-9649.
17 July 25, 2022: Search Warrant Execution at 431 North Laventure Road, Mount Vernon
18                 Also included in the search warrants signed in July 2022 was a search
19 warrant for “Paco’s” residence, 431 North Laventure Road, Mount Vernon,
20 Washington.
21                 On July 25, 2022, investigators executed the search warrant at “Paco’s”
22 residence. Nobody was present at the search warrant was executed. Individuals did
23 arrive while investigators were at the location, none of these individuals matched the
24 description of “Paco.” Seized from a bedroom during that search was two firearms,
25 approximately 5 kilograms of suspected fentanyl pills, 6 kilograms of suspected
26 fentanyl powder, 1 kilogram of suspected heroin, and 800 grams of suspected
27 methamphetamine.
28

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 1                 Also located in the same bedroom was a Bank of America debit card,
 2 which expired in March 2022 in the name Martin Gonzalez Perez with a photograph.
 3 The individual in the photograph is consistent in appearance to “Paco.” Also located in
 4 the same bedroom was multiple IRS 1042-S forms, which is for “Foreign Person’s U.S.
 5 Source Income Subject to Withholding” documenting earnings at the Tulalip Resort
 6 Casino in the name “MARTIN PEREZ GONZALEZ” with the listed address of “333 W
 7 LAUREL DR APT 15, SALINAS, MEXICO US 93906.”
 8 Identification of TT2A
 9                 According to AT&T records, 360-873-9649 is subscribed to “MARTIN
10 GONZALEZ PEREZ” at “333 W LAUREL DR APT 15, SALINAS,CA 93906” with
11 an activation date of March 12, 2022. This is also the same name and address that
12 would found on the documents at “Paco’s” residence in Mount Vernon, Washington
13 during the search.
14                 Based on a common call analysis of multiple cell phones in contact with
15 “Paco’s” 360-873-9649, investigators identified 831-225-4486 (TT2A) as a likely new
16 phone for “Paco.”
17                 According to AT&T records, 831-225-4486 (TT2A) is subscribed to
18 “ROMEO GONZALEZ PEREZ” at “333 W LAUREL DR , Salinas, CA 93906” with
19 an activation date of July 27, 2022. Investigators observed the subscribers for 360-873-
20 9649 and 831-225-4486 have the same last name “GONZALEZ PEREZ” and the same
21 street address 333 W Laurel Drive, Salinas California. Investigators also observed that
22 831-225-4486 (TT2A) was activated on July 27, 2022, two days after the arrest of
23 ORTIGOZA REYES and the search of “Paco’s” residence in Mount Vernon,
24 Washington.
25                 A toll analysis showed that between July 27, 2022 and August 1, 2022,
26 “Paco’s” 831-225-4486 (TT2A) contacted sixteen distinct phone numbers. Of those
27 sixteen phone numbers, eight numbers, or half of the numbers contacted by TT2A were
28 also in contact with “Paco’s” 360-873-9649. Further, one of the phone numbers

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 1 contacted by TT2A between July 27, 2022, and August 1, 2022, was 360-540-3584.
 2 According to T-Mobile records, 360-540-3584 is subscribed to “CLARIBEL L
 3 ROJAS” at “429 N LAVENTURE RD MOUNT VERNON WA 98273 USA.” 429
 4 North Laventure Road, Mount Vernon, Washington, is the southern unit of the duplex
 5 to which “Paco’s” residence, 431 North Laventure Road, Mount Vernon, Washington is
 6 connected.
 7                 Base don the above analysis, investigators believe that 831-225-4486
 8 (TT2A) is being used by “Paco”.
 9              KNOWLEDGE BASED ON TRAINING AND EXPEREINCE
10                 Based on my training, experience, and conversations with other
11 experienced narcotics investigators, I have gained experience in the techniques and
12 methods used by drug traffickers to distribute controlled substances, to include their use
13 of cellular phones and other electronic communication devices to facilitate their
14 trafficking activity. I know drug traffickers use cellular phones to communicate with
15 suppliers, re-distributors, and customers. These communications via cellular phone
16 often include discussing details around drug deals such as time and place of drug
17 transactions, types of drugs, amounts of drugs, methods of payment for drugs, and
18 quality of drugs sold or bought, amongst other things. I know that it is common for
19 drug traffickers to use multiple phones as well as change phone numbers regularly.
20 They use different telephones to help compartmentalize their drug trafficking activities.
21 This might entail using specific phones for their personal life and other phones for drug
22 activity. Or it might include using different phones for different individuals or aspects
23 of their business, such as using certain phones to contact suppliers and other phones to
24 contact redistributors. This compartmentalizing is especially common for individuals in
25 leadership positions. Drug traffickers often try to keep the various components and
26 organization members separate to protect parts of the organization from detection by
27 law enforcement. For example, if one individual or arm of a drug trafficking
28 organization (DTO) is arrested or seeks to assist law enforcement, that person could do

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 1 less damage to the organization if the leadership limits what he or she knows about
 2 other parts of the DTO. Drug traffickers also use multiple cell phones to frustrate law
 3 enforcement interception and monitoring. Where there are multiple cell phones, law
 4 enforcement may learn of one part of the organization’s activities by intercepting one
 5 phone, but they would not receive information as to the overall activities of the DTO.
 6 Thus, the use of multiple cell phones helps the survival of the overall organization.
 7                 Based on my training and experience, I know each cellular device has one
 8 or more unique identifiers embedded inside it. Depending on the cellular network and
 9 the device, the embedded unique identifiers for a cellular device could take several
10 different forms, including an Electronic Serial Number (“ESN”), a Mobile Electronic
11 Identity Number (“MEIN”), a Mobile Identification Number (“MIN”), a Subscriber
12 Identity Module (“SIM”), a Mobile Subscriber Integrated Services Digital Network
13 Number (“MSISDN”), an International Mobile Subscriber Identifier (“IMSI”), or an
14 International Mobile Equipment Identity (“IMEI”). The unique identifiers -- as
15 transmitted from a cellular device to a cellular antenna or tower -- can be recorded by
16 pen-traps and indicate the identity of the cellular device making the communication
17 without revealing the communication’s content.
18                 Based on my training and experience, I know that when a cell phone
19 connects to a cellular antenna or tower, it reveals its embedded unique identifiers to the
20 cellular antenna or tower, and the cellular antenna or tower records those identifiers as a
21 matter of course. The unique identifiers -- as transmitted from a cell phone to a cellular
22 antenna or tower -- are like the telephone number of an incoming call. They can be
23 recorded by pen-trap devices and indicate the identity of the cell phone device making
24 the communication without revealing the communication’s content. In addition, a list
25 of incoming and outgoing telephone numbers is generated when a cell phone is used to
26 make or receive calls, or to send or receive text messages (which may include
27 photographs, videos, and other data). These telephone numbers can be recorded by pen-
28

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 1 trap devices and then used to identify the parties to a communication without revealing
 2 the communication’s contents.
 3                 Based my training and experience, I know that a cell phone can also be
 4 used to exchange text messages with email accounts. The email addresses associated
 5 with those text messages can be recorded by pen-trap devices and then used to identify
 6 parties to a communication without revealing the communication’s contents.
 7                 Based on my training and experience, I know that cellular phones can
 8 connect to the internet via a cellular network. When connecting through a cellular
 9 network, internet communications sent and received by the cellular phone each contain
10 the same unique identifier that identifies cellular voice communications, such as an
11 ESN, MEIN, MIN, SIM, IMSI, MSISDN, or IMEI. Internet communications from a
12 cellular phone also contain the IP address associated with that cellular phone at the time
13 of the communication. Each of these unique identifiers can be used to identify parties
14 to a communication without revealing the communication’s contents.
15                 In my training and experience, I have learned that T-Mobile, AT&T,
16 Verizon Wireless, and Sprint are companies that provide cellular telephone access to
17 the general public. I also know that certain providers of cellular telephone service have
18 technical capabilities that allow them to collect and generate information about the
19 locations of the cellular telephones to which they provide service, including E-911
20 Phase II data (also known as GPS data or latitude-longitude data) and cell-site data
21 (also known as “tower/face information” or cell tower/sector records). E-911 Phase II
22 data provides relatively precise location information about the cellular telephone itself,
23 either via GPS tracking technology built into the phone or by triangulating on the
24 device’s signal using data from several of the provider’s cell towers. Cell-site data
25 identifies the cell towers (i.e., antenna towers covering specific geographic areas) that
26 received a radio signal from the cellular telephone and, in some cases, the “sector” (i.e.,
27 faces of the towers) to which the telephone connected. These towers are often a half-
28 mile or more apart, even in urban areas, and can be 10 or more miles apart in rural

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 1 areas. Furthermore, the tower closest to a wireless device does not necessarily serve
 2 every call made to or from that device. Accordingly, cell-site data is typically less
 3 precise that E-911 Phase II data.
 4                 Based on my training and experience, I know that T-Mobile, AT&T,
 5 Verizon Wireless, and Sprint, can collect E-911 Phase II data about the location of the
 6 Target Telephones, including by initiating a signal to determine the location of the
 7 Target Telephones on their networks (T-Mobile, AT&T, Verizon Wireless, and Sprint)
 8 or with such other reference points as may be reasonably available.
 9                 When using a cellular connection to receive or transmit data, a cellular
10 phone typically utilizes a cell tower to make telephone calls, send or receive text
11 messages, send or receive emails, surf the internet, carry out application initiated data
12 transfers, among other things.
13                 Based on my training and experience, I know that T-Mobile, AT&T,
14 Verizon Wireless, and Sprint can collect cell-site data about the Target Telephone.
15 Based on my training and experience, I know that for each communication (including
16 data connections) a cellular device makes, its wireless service provider can typically
17 determine: (1) the date and time of the communication; (2) the telephone numbers
18 involved, if any; (3) the cell tower to which the customer connected at the beginning of
19 the communication; (4) the cell tower to which the customer connected at the end of the
20 communication; and (5) the duration of the communication. I also know that wireless
21 providers such as T-Mobile, AT&T, Verizon Wireless, and Sprint typically collect and
22 retain cell-site data pertaining to cellular devices to which they provide service in their
23 normal course of business in order to use this information for various business-related
24 purposes.
25                 Different service providers use different systems, applications, and reports
26 to collect or analyze cell site data. These systems, applications, and reports are referred
27 to by a variety of names including, but not limited to real-time tool or “RTT” (Verizon),
28 Periodic Location Updates or “PLU” (Verizon), per call measurement data or “PCMD”

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 1 (Sprint), Network Event Location System or “NELOS” (AT&T), EVDO, ALULTE,
 2 Timing Advance, and TruCall. RTT data, for example, estimates the approximate
 3 distance of the cellular device from a cellular tower based upon the speed with which
 4 signals travel between the device and the tower. This information can be used to
 5 estimate an approximate location range that is more precise than typical cell-site data.
 6                 Based on my training and experience, I know that wireless providers such
 7 as T-Mobile, AT&T, Verizon Wireless, and Sprint typically collect and retain
 8 information about their subscribers in their normal course of business. This information
 9 can include basic personal information about the subscriber, such as name and address,
10 and the method(s) of payment (such as credit card account number) provided by the
11 subscriber to pay for wireless communication service. I also know that wireless
12 providers such as T-Mobile, AT&T, Verizon Wireless, and Sprint typically collect and
13 retain information about their subscribers’ use of the wireless service, such as records
14 about calls or other communications sent or received by a particular device and other
15 transactional records, in their normal course of business. In my training and
16 experience, this information may constitute evidence of the crimes under investigation
17 because the information can be used to identify the Target Telephone’ user or users and
18 may assist in the identification of co-conspirators and/or victims.
19                 Modern cell phones allow users to switch their telephone numbers, use
20 multiple telephone numbers on a single device, and transfer their telephone number to a
21 different cell phone. These changes can be made with the assistance of the wireless
22 provider or by taking actions such as changing the “SIM card” (short for “subscriber
23 identity module card”) of a cellphone. To provide for any such changes made to the
24 Target Telephone, Attachment A specifies that the property to be searched includes:
25 (i) any instrument to which the listed target telephone number was assigned within the
26 last 30 days, and that now has been assigned a changed telephone number, (ii) any
27 changed telephone number assigned to an instrument now bearing the same unique
28 identifying number (such as an IMSI, ESN, MSID, or IMEI) as the telephone number

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 1 listed above, or that was bearing the same unique identifying number as the telephone
 2 number listed above, at any point within the last 30 days, (iii) any changed unique
 3 identifying number subsequently assigned to the same telephone number, or (iv) any
 4 additional changed telephone number and/or unique identifying number, whether the
 5 changes occur consecutively or simultaneously, listed to the same subscriber and
 6 wireless telephone account number as the telephone numbers listed above, within the
 7 period of disclosure authorized by this warrant.
 8             AUTHORIZATION REQUEST FOR TARGET TELEPHONE
 9                 Based on the fact set forth in this affidavit, there is probable cause to
10 conclude that violations of 21 U.S.C §841 and §846 (distribution of controlled
11 substances and conspiracy to distribute controlled substances) have been committed, are
12 being committed, and will be committed by “Paco” the user of TT2A and others who
13 are known and unknown. The requested information, including prospective location
14 information for Target Telephone 2A will help law enforcement monitor the user of
15 the Target Telephone, follow their movements when they are at locations that are
16 otherwise hard for law enforcement to observe, and identify other coconspirators,
17 sources of supply, storage locations, and other people and places of evidentiary value.
18 There is probable cause to believe that the use of the investigative technique described
19 by the warrant will result in officers learning that identifying information.
20                 Based on the foregoing, I request that the Court issue the proposed search
21 warrant and pen-trap order for the Target Telephone, i.e., for AT&T, pursuant to
22 Federal Rule of Criminal Procedure 41, 18 U.S.C. § 2703(c), and 18 U.S.C. § 3123.
23                 I further request, pursuant to 18 U.S.C. § 3103a(b) and Federal Rule of
24 Criminal Procedure 41(f)(3), that the Court authorize the officer executing the warrant
25 to delay notice to the subscriber or user of the Target Telephone until 90 days after the
26 collection authorized by the warrant has been completed. There is reasonable cause to
27 believe that providing immediate notification of the warrant may have an adverse result,
28 as defined in 18 U.S.C. § 2705. Providing immediate notice to the subscriber or user of

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 1 the Target Telephone would seriously jeopardize the ongoing investigation, as such a
 2 disclosure would give that person an opportunity to destroy evidence, change patterns
 3 of behavior, notify confederates, and flee from prosecution. See 18 U.S.C. §
 4 3103a(b)(1). As further specified in Attachments B, which is incorporated into the
 5 warrant, the proposed search warrant does not authorize the seizure of any tangible
 6 property. See 18 U.S.C. § 3103a(b)(2). Moreover, to the extent that the warrant
 7 authorizes the seizure of any wire or electronic communication (as defined in 18 U.S.C.
 8 § 2510) or any stored wire or electronic information, there is reasonable necessity for
 9 the seizure for the reasons set forth above. See 18 U.S.C. § 3103a(b)(2).
10                 I further request that the Court direct AT&T to disclose to the government
11 any information described in Attachments B that is within the possession, custody, or
12 control of AT&T. I also request that the Court direct AT&T to furnish the government
13 all information, facilities, and technical assistance necessary to accomplish the
14 collection of the information described in Attachments B unobtrusively and with a
15 minimum of interference with AT&T’s services, including by initiating a signal to
16 determine the location of the Target Telephone on AT&T’s network or with such other
17 reference points as may be reasonably available, and at such intervals and times
18 directed by the government. The agency shall reasonably compensate AT&T for
19 reasonable expenses incurred in furnishing such facilities or assistance.
20 //
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 1                                            EXHIBIT 1
 2                                         DECLARATION
 3          I, STEPHEN HOBBS, declare as follows:
 4          1.       I am a duly appointed Assistant United States Attorney for the Western
 5 District of Washington, and I have primary responsibility for representing the interests of
 6 the United States herein.
 7          2.       I make this declaration in support of an application for a search warrant
 8 pursuant to Federal Rule of Criminal Procedure 41 and 18 U.S.C. § 2703(c)(1)(A) with
 9 an integrated pen-trap order pursuant to 18 U.S.C. §§ 3122 and 3123.
10          3.       Pursuant to 18 U.S.C. § 3122(b), I certify that the DEA is the law
11 enforcement agency conducting the investigation in this matter and that the information
12 likely to be obtained from the requested warrant is relevant to an ongoing criminal
13 investigation being conducted by that agency.
14          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing
15 Application is made on the basis of information officially furnished, and on that basis I
16 verily believe such information to be true.
17          Executed this 15th day of August, 2022.
18                                                      s/ Stephen Hobbs
19                                                      STEPHEN HOBBS
                                                        Assistant United States Attorney
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     Exhibit 1 - Declaration -- PAGE 1                                   UNITED STATES ATTORNEY
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 1                                     ATTACHMENT A
 2               Property to Be Searched and Subscriber/Subject Information
 3         1.      Records and information associated with the cellular phone assigned call
 4 number 831-225-4486, with listed subscriber “ROMEO GONZALEZ PEREZ” (the
 5 “Target Cell Phone”), that are in the custody or control of AT&T Wireless, a company
 6 headquartered at 11760 U.S. Highway 1, North Palm Beach, FL 33408. The
 7 subscriber/customer of the Target Cell Phone is “ROMEO GONZALEZ PEREZ”. The
 8 identity of the person who is the subject of the criminal investigation is unknown.
 9         1.      The Target Cell Phone.
10         2.      The property to be searched includes: (i) any instrument to which the listed
11 target telephone number was assigned within the last 30 days, and that now has been
12 assigned a changed telephone number, (ii) any changed telephone number assigned to an
13 instrument now bearing the same unique identifying number (such as an IMSI, ESN,
14 MSID, or IMEI) as the telephone number listed above, or that was bearing the same
15 unique identifying number as the telephone number listed above, at any point within the
16 last 30 days, (iii) any changed unique identifying number subsequently assigned to the
17 same telephone number, or (iv) any additional changed telephone number and/or unique
18 identifying number, whether the changes occur consecutively or simultaneously, listed to
19 the same subscriber and wireless telephone account number as the telephone numbers
20 listed above, within the period of disclosure authorized by this warrant.
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22
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27
     Attachment A -- PAGE 1                                         UNITED STATES ATTORNEY
                                                                   700 STEWART STREET, SUITE 5220
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 1                                          ATTACHMENT B
 2                                    Particular Things to be Seized
 3         This warrant is issued pursuant to Rule 41 of the Federal Rules of Criminal
 4 Procedure, the Electronic Communications Privacy Act (ECPA), 18 U.S.C. §§ 2701-
 5 2713, and the Pen Register Act, 18 U.S.C. §§ 3121-3127. As such, this warrant
 6 authorizes the collection of subscriber records, pen-trap data, cell site data , and
 7 prospective E-911/GPS and cell site triangulation information regarding the Target Cell
 8 Phone. This warrant does not authorize the disclosure or seizure of any tangible
 9 property or the content of any wire or electronic communication, as defined in 18
10 U.S.C. § 2510(8). Accordingly, the Court finds reasonable necessity for the seizure of
11 the data and records identified below. See 18 U.S.C. § 3103a(b)(2).
12
13 I.      Section I: Information to be Disclosed by AT&T
14         1.      Subscriber/Account Information. The following non-content information
15 about the customers or subscribers associated with the Account listed in Attachment A:
16                 a.         Names (including subscriber names, user names, and screen names);
17                 b.         Addresses (including mailing addresses, residential addresses,
18 business addresses, and e-mail addresses);
19                 c.         Local and long distance telephone connection records from July 27,
20 2020, to the present;
21                 d.         Records of session times and durations, and the temporarily assigned
22 network addresses (such as Internet Protocol (“IP”) addresses) associated with those
23 sessions from July 27, 2020, to the present;
24                 e.         Length of service (including start date) and types of service utilized;
25                 f.         Telephone or instrument numbers (including MAC addresses,
26 Electronic Serial Numbers (“ESN”), Mobile Electronic Identity Numbers (“MEIN”),
27
     Attachment B -- PAGE 1                                               UNITED STATES ATTORNEY
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 1 Mobile Equipment Identifiers (“MEID”), Mobile Identification Numbers (“MIN”),
 2 Subscriber Identity Modules (“SIM”), Mobile Subscriber Integrated Services Digital
 3 Network Numbers (“MSISDN”), International Mobile Subscriber Identity Identifiers
 4 (“IMSI”), or International Mobile Equipment Identities (“IMEI”);
 5                 g.         Other subscriber numbers or identities (including the registration
 6 Internet Protocol (“IP”) address); and
 7                 h.         Means and source of payment for such service (including any credit
 8 card or bank account number) and billing records.
 9         2.      Pen Register/ Trap and Trace Data and Associated Subscriber Records
10 to Be Provided for a Period of 45 days.
11
12                 a.         AT&T shall install and monitor pen-trap devices to record, decode,
13 and/or capture dialing, routing, addressing, and signaling information associated with
14 each communication to or from the Target Cell Phone including the date, time, and
15 duration of the communication, and the following, without geographic limit and without
16 notice to the subscriber:
17                        (i)       IP addresses associated with the cell phone device or devices
18                                  used to send or receive electronic communications;
19                        (ii)      Any unique identifiers associated with the cell phone device or
20                                  devices used to make and receive calls with the cell phone
21                                  number described in Attachment A, or to send or receive other
22                                  electronic communications, including the ESN, MEIN, IMSI,
23                                  IMEI, SIM, MSISDN, or MIN;
24                        (iii)     IP addresses of any websites or other servers to which the cell
25                                  phone device or devices connected; and
26
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 1                         (iv)      Source and destination telephone numbers and email
 2                                   addresses.
 3                  b.         On a 24-hour-a-day basis, for the duration of the authorized pen-trap
 4 devices, AT&T shall provide the following records for those subscribers whose
 5 identifiers are obtained pursuant to the use of the pen-trap devices: published or non-
 6 published subscriber names and addresses, including billing addresses.
 7          3.      Historical Cell Site Location Information.
 8                  a.         All records and other information (not including the contents of
 9 communications) relating to wire and electronic communications sent or received by the
10 Account from July 27, 2020, to the present, including:
11
                               i.    the date and time of the communication, the method of the
12
     communication, and the source and destination of the communication (such as the source
13
     and destination telephone numbers (call detail records), email addresses, and IP
14
     addresses); and
15
                               ii.   historical cell site information regarding the cell tower and
16
     antenna face (also known as “sectors”) through which the communications were sent and
17
     received. This information is to be provided irrespective of the application, name, or
18
     report utilized by the AT&T. Accordingly, this information includes the following data
19
     sets to the extent that they are collected by the AT&T: RTT, PLU, PCMD, LOCDBOR,
20
     EVDO, True Call, ALULTE, and Timing Advance.
21
                    b.         The physical address and coverage maps of cell towers used by the
22
     Target Cell Phone.
23
            4.      Prospective Cell Site Location Information.
24
                    a.         All information about the location of the Target Cell Phone
25
     described in Attachment A for a period of 45 days, during all times of day and night.
26
     This information includes: precise location information, as well as all data about which
27
      Attachment B -- PAGE 3                                              UNITED STATES ATTORNEY
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 1 “cell towers” (i.e., antenna towers covering specific geographic areas) and “sectors” (i.e.,
 2 faces of the towers) received a radio signal from the cellular telephone(s) or account(s)
 3 described in Attachment A. This information also includes the following data sets to the
 4 extent that they are collected by the AT&T: RTT, PLU, PCMD, LOCDBOR, EVDO,
 5 True Call, ALULTE, and Timing Advance.
 6                  b.         The physical address and coverage maps of cell towers used by the
 7 Target Cell Phone.
 8
            5.      Prospective E-911/GPS and Cell Site Triangulation Information.
 9
                    a.         All information about the location of the Target Cell Phone
10
     described in Attachment A for a period of 45 days, during all times of day and night.
11
     This information includes: all available E-911 Phase II data, GPS data, latitude-longitude
12
     data, and other precise location information, as well as all data about which “cell towers”
13
     (i.e., antenna towers covering specific geographic areas) and “sectors” (i.e., faces of the
14
     towers) received a radio signal from the cellular telephone(s) or account(s) described in
15
     Attachment A.
16
                    b.         The physical address and coverage maps of cell towers used by the
17
     Target Cell Phone.
18
19          To the extent that the location information described in the previous paragraphs
20 (hereinafter, “Location Information”) is within the possession, custody, or control of
21 AT&T, AT&T is required to disclose the Location Information to the government
22 pursuant to this warrant. In addition, pursuant to 18 U.S.C. §§ 3123(b)(2) and 3124(a)-
23 (b), AT&T must furnish the government all information, facilities, and technical
24 assistance necessary to accomplish the collection of the Location Information
25 unobtrusively and with a minimum of interference with AT&T’s services. The
26 government shall compensate AT&T for reasonable expenses incurred in furnishing such
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1 facilities or assistance.
2
3
     II.    Section II: Information to Be Seized by the Government
4
            1.      All information described above in Section I that constitutes evidence of
5
     violations of 21 USC § § 841 & 846 involving unidentified subject “Paco”.
6
            2.      All non-content subscriber/account information provided pursuant to 18
7
     U.S.C. § 2703(c).
8
            3.      All non-content dialing, routing, addressing, and signaling information
9
     provided pursuant to 18 U.S.C. §§ 3121-3127.
10
            4.      Location Information regarding the Target Cell Phone.
11
            Law enforcement personnel (who may include, in addition to law enforcement
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     officers and agents, attorneys for the government, attorney support staff, agency
13
     personnel assisting the government in this investigation, and outside technical experts
14
     under government control) are authorized to review the records produced by the AT&T
15
     in order to locate the things particularly described in this Warrant.
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